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                                                        CROWELL & MORING LLP
                                                    2   1001 Pennsylvania Avenue, N.W.
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                                                    4
                                                        Attorney for Plaintiffs True Names, Ltd. and Virgil Griffith
                                                    5
                                                    6
                                                    7
                                                    8                       IN THE UNITED STATES DISTRICT COURT
                                                                                FOR THE DISTRICT OF ARIZONA
                                                    9
                                                   10
                                                        True Names, Ltd. d/b/a Ethereum Name
                                                   11   Service, a Singapore corporation, and Virgil
                                                        Griffith, an individual                             Case No. 2:22-cv-01494-JJT
                                                   12
                                                                         Plaintiff,                        DECLARATION OF JACOB CANTER
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                                                   13   v.                                                 REGARDING NOTICE TO
                                                                                                           DEFENDANTS AND COMPLIANCE
                         A T TOR NEY S A T L A W




                                                   14   GoDaddy, Inc., a Delaware corporation,             WITH THE COURT’S SEPTEMBER
                                                        and GoDaddy.com LLC, a Delaware                    6, 2022 ORDER
                                                   15   corporation, Dynadot LLC, a California
                                                        corporation, and Manifold Finance, Inc., a
                                                   16   Delaware corporation.
                                                   17                    Defendants.
                                                   18
                                                   19   I, Jacob Canter, declare:

                                                   20          1.     I am a lawyer at Crowell & Moring LLP and counsel to Plaintiffs True
                                                   21   Names, Ltd. and Virgil Griffith. The matters set forth herein are true and correct of my
                                                   22   own personal knowledge and, if called as a witness, I could and would testify competently
                                                   23   thereto. I declare under penalty of perjury under the laws of the United States that the
                                                   24   foregoing is true and correct to the best of my knowledge.
                                                   25          2.     On September 6, 2022, the Court ordered Plaintiffs to (1) “serve the
                                                   26   remaining Defendants [other than Manifold Finance, Inc.] with the Complaint (Doc. 1),
                                                   27   Summons, and TRO Motion (Doc. 2), and file certificates of service on the docket for all

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                                                    1   four Defendants, by September 7, 2022” and (2) “provide a copy of this Order to a
                                                    2   verified contact at each Defendant (or each Defendant’s counsel) by September 7, 2022.”
                                                    3          3.     Plaintiffs have complied with the Court’s directive by serving the

                                                    4   Complaint, Summons, TRO Motion, and September 6, 2022 Order on each of the

                                                    5   Defendants by no later than September 7, 2022. In addition, to ensure that Defendants

                                                    6   are on notice of this action and the Court’s September 6, 2022, Order, Plaintiffs have also

                                                    7   served the same materials on the headquarters for GoDaddy, Inc. and GoDaddy.com LLC
                                                        and on over two-dozen email addresses associated with persons at Dynadot LLC based
                                                    8
                                                        on public records searches.
                                                    9
                                                               4.     Plaintiffs have also complied with the Court’s directive by filing
                                                   10
                                                        certificates of service on the docket for all four Defendants. See Dkt. Nos. 12-15.
                                                   11
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                                                        Additional proof of service that has been provided to me since filing the certificates of
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                         A T TOR NEY S A T L A W




                                                        service are attached as exhibits to this declaration.
                                                   13
                                                               5.     Plaintiffs have also complied with the Court’s directive by providing a copy
                                                   14
                                                        of the Court’s September 6, 2022, Order to verified contacts at each address. As we have
                                                   15
                                                        received no communications from any of the Defendants, the verified contacts were, as
                                                   16
                                                        described herein, the corporate agents that accepted service of the Order.
                                                   17
                                                        Compliance with the Court’s Order Regarding Defendant Manifold Finance, Inc.
                                                   18
                                                   19          6.     On September 6, 2022, I directed the process server to serve the Complaint,
                                                   20   Summons, and TRO Motion on Manifold Finance, Inc. at the registered agent site, 651
                                                   21   N. Broad St., Suite 201, Middletown DE, 19709.
                                                   22          7.     On September 6, 2022, I received from the process server confirmation in
                                                   23   the form of an affidavit that service of the Complaint, Summons, and TRO Motion on

                                                   24   Manifold Finance, Inc. had been completed on September 6, 2022, at 2:12 PM. (Dkt. No.

                                                   25   12 at 3).1

                                                   26
                                                        1
                                                          I confirmed with the process serving agency that, while time zones are not reflected on the
                                                   27   affidavits, the time listed is based on the time zone where the service occurred (i.e., eastern
                                                        time zone in Delaware, pacific time zone in California, and mountain standard time zone in
                                                   28   Arizona).
                                                                                                       2
                                                    1         8.     On September 7, 2022, I directed the process server to serve the Court’s
                                                    2   September 6, 2022, Order on Manifold Finance, Inc. at the registered agent site, 651 N.
                                                    3   Broad St., Suite 201, Middletown DE, 19709.

                                                    4         9.     On September 7, 2022, I received email confirmation from the process

                                                    5   server that service of the Court’s September 6, 2022, Order on Manifold Finance, Inc.

                                                    6   had been completed. (Dkt. No. 12 at 6-7).

                                                    7         10.    On September 8, 2022, I received from the process server confirmation in
                                                        the form of an affidavit that service of the Court’s September 6, 2022, Order on Manifold
                                                    8
                                                        Finance, Inc. had been completed at the registered agent site on September 7, 2022, at
                                                    9
                                                        2:02 PM. (Ex. A at 1).
                                                   10
                                                   11        Compliance with the Court’s Order Regarding Defendant GoDaddy, Inc.
                                                   12
                                                              11.    On September 6, 2022, I directed the process server to serve the Complaint,
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                                                   13
                                                        Summons, and TRO Motion on GoDaddy, Inc. at the registered agent site, 251 Little
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                                                   14
                                                        Falls Drive, Wilmington DE, 19808.
                                                   15         12.    On September 7, 2022, I directed the process server to serve the Court’s
                                                   16   September 6, 2022, Order on GoDaddy, Inc. at the registered agent site, 251 Little Falls
                                                   17   Drive, Wilmington DE, 19808.
                                                   18         13.    On September 7, 2022, I directed the process server to serve the Complaint,
                                                   19   Summons, TRO Motion, and the Court’s September 6, 2022, Order on GoDaddy, Inc. at
                                                   20   the company headquarters, which I identified based on information from the company’s
                                                   21   official website, https://www.godaddy.com, 2155 E GoDaddy Way, Tempe AZ, 85284.
                                                   22         14.    On September 7, 2022, I received from the process server confirmation in
                                                   23   the form of an affidavit that service of the Complaint, Summons, and TRO Motion on

                                                   24   GoDaddy, Inc. had been completed on the registered agent site on September 6, 2022 at

                                                   25   3:26 PM. (Dkt. No. 14 at 3).

                                                   26         15.    On September 7, 2022, I received from the process server verified

                                                   27   confirmation that service of the Court’s September 7, 2022, Order on GoDaddy, Inc. had
                                                        been completed on the registered agent site at 2:37 PM. (Dkt. No. 14 at 6-7).
                                                   28
                                                                                                     3
                                                    1          16.      On September 7, 2022, I received verified confirmation that service of the
                                                    2   Complaint, Summons, TRO Motion, and the Court’s September 6, 2022, Order on
                                                    3   GoDaddy, Inc. had been completed on the company headquarters on September 7, 2022,

                                                    4   at 10:44 AM. (Dkt. No. 14 at 8-9).

                                                    5          17.      On September 8, 2022, I received from the process server confirmation in

                                                    6   the form of an affidavit that service of the Court’s September 6, 2022, Order on GoDaddy,

                                                    7   Inc. had been completed on the registered agent site on September 7, 2022, at 2:37 PM.
                                                        (Ex. B at 1).
                                                    8
                                                    9       Compliance with the Court’s Order Regarding Defendant GoDaddy.com LLC 2
                                                   10
                                                               18.      On September 6, 2022, I directed the process server to serve the Complaint,
                                                   11
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                                                        Summons, and TRO Motion on GoDaddy.com LLC at the registered agent site, 251 Little
                                                   12
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                                                        Falls Drive, Wilmington DE, 19808.
                                                   13
                                                               19.      On September 7, 2022, I directed the process server to serve the Court’s
                                                   14
                                                        September 6, 2022, Order on GoDaddy.com LLC at the registered agent site, 251 Little
                                                   15   Falls Drive, Wilmington DE, 19808.
                                                   16          20.      On September 7, 2022, I directed the process server to serve the Complaint,
                                                   17   Summons, TRO Motion, and the Court’s September 6, 2022, Order on GoDaddy.com
                                                   18   LLC at the company headquarters, which I identified based on information from the
                                                   19   company’s official website, https://www.godaddy.com, 2155 E GoDaddy Way, Tempe
                                                   20   AZ, 85284.
                                                   21          21.      On September 7, 2022, I received from the process server confirmation in
                                                   22   the form of an affidavit that service of the Complaint, Summons, and TRO Motion on
                                                   23   GoDaddy.com LLC had been completed on the registered agent site on September 6,

                                                   24   2022 at 3:26 PM. (Dkt No. 13 at 3).

                                                   25
                                                   26   2
                                                          Dkt No. 13 at 6-7 erroneously includes verified confirmation of service of the
                                                        September 6, 2022, Order on GoDaddy, Inc., not GoDaddy.com LLC. As described
                                                   27   herein, the September 6, 2022, Order was served on GoDaddy.com LLC at the company
                                                        headquarters (Dkt. No. 13 at 8-9) and via certified mail at the registered agent site (Dkt.
                                                   28   No. 16-3 (Exhibit C)).
                                                                                                       4
                                                    1          22.    On September 7, 2022, I received from the process server verified
                                                    2   confirmation that service of the Complaint, Summons, TRO Motion, and the Court’s
                                                    3   September 6, 2022, Order on GoDaddy.com LLC had been completed on the company

                                                    4   headquarters on September 7, 2022, at 10:44 AM. (Dkt. No. 13 at 8-9).

                                                    5          23.    On September 8, 2022, I received from the process server confirmation in

                                                    6   the form of an affidavit that service of the Court’s September 6, 2022, Order on

                                                    7   GoDaddy.com LLC had been completed via certified mail on the registered agent site on
                                                        September 7, 2022, at 2:37 PM. (Ex. C at 1).
                                                    8
                                                               24.    On September 8, 2022, I received from the process server confirmation in
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                                                        the form of an affidavit that service of the Complaint, Summons, TRO Motion, and the
                                                   10
                                                        Court’s September 6, 2022, Order on GoDaddy.com LLC had been completed on the
                                                   11
                                                        company headquarters on September 7, 2022, at 10:44 AM. (Ex. D at 1).
                                                   12
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                                                   13        Compliance with the Court’s Order Regarding Defendant Dynadot LLC
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                                                   14
                                                               25.    On September 6, 2022, I directed the process server to serve the Complaint,
                                                   15   Summons, and TRO Motion on Dynadot LLC at the location listed on the California
                                                   16   Secretary of State’s website as most recently associated with the company’s agent, 210
                                                   17   S Ellsworth Ave., Unit 345, San Mateo, CA 94401.
                                                   18          26.    On September 7, 2022, I directed the process server to serve the Court’s
                                                   19   September 6, 2022, Order on Dynadot LLC at the location listed on the California
                                                   20   Secretary of State’s website as most recently associated with the company’s agent, 210
                                                   21   S Ellsworth Ave., Unit 345, San Mateo, CA 94401.
                                                   22          27.    On September 7, 2022, I directed the process server to serve the Complaint,
                                                   23   Summons, TRO Motion, and the Court’s September 6, 2022, Order on Dynadot LLC at

                                                   24   the other location listed on the California Secretary of State’s website as associated with

                                                   25   the company’s agent, 205 E. 3rd Ave., Suite 314, San Mateo, CA 94401.

                                                   26          28.    On September 7, 2022, I directed the process server to serve the Complaint,

                                                   27   Summons, TRO Motion, and the Court’s September 6, 2022, Order on Dynadot LLC at
                                                        the home address most recently associated with the company’s agent and CEO, Todd
                                                   28
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                                                    1   Han, which I identified based on public records searches. I am prepared, at the Court’s
                                                    2   direction, to provide the personal home address to the Court under seal, to protect the
                                                    3   individual’s privacy.

                                                    4         29.     On September 7, 2022, I directed the process server to server the

                                                    5   Complaint, Summons, TRO Motion, and the Court’s September 6, 2022, Order on

                                                    6   Dynadot LLC via certified mail, with return receipt requested, at the following addresses:

                                                    7   210 S Ellsworth Ave., Unite 345, San Mateo, CA 94401, and PO BOX 607 San Mateo,
                                                        CA, 94401.
                                                    8
                                                              30.     On September 7, 2022, I had public records searches completed to identify
                                                    9
                                                        the email addresses of all persons associated with Dynadot LLC, located in or around San
                                                   10
                                                        Mateo, CA.
                                                   11
                                                              31.     Based on this investigation, I identified forty-four email addresses for
                                                   12
                                                        persons potentially associated with Dynadot LLC. The nine email addresses that include
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                                                        an @dynadot domain are: jacqueline.daly@dynadot.com; lburgess@dynadot.com;
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                                                   14
                                                        ccastro@dynadot.com;           bmckay@dynadot.com;               christinec@dynadot.com;
                                                   15
                                                        christine@dynadot.com;           todd@dynadot.com;             tony.huang@dynadot.com;
                                                   16
                                                        kathryn@dynadot.com. I am prepared, at the Court’s direction, to provide the remaining
                                                   17
                                                        thirty-five personal email addresses to the Court under seal, to protect the privacy of the
                                                   18   individual’s associated with the personal addresses.
                                                   19         32.     On September 7, 2022, I served via email to each of forty-four addresses
                                                   20   the Complaint, Summons, TRO Motion, and the Court’s September 6, 2022, Order. The
                                                   21   emails failed to deliver to eighteen of the personal addresses. Email service was
                                                   22   successful on the remaining accounts.
                                                   23         33.     I initially attempted to serve via a single email all of the materials to each
                                                   24   of the @dynadot addresses, but I received a bounce-back notification that the file was too
                                                   25   large. Thus, I served the materials on each of the @dynadot addresses via email in two
                                                   26   parts (two separate emails), with the Court’s September 6, 2022 Order, included in both

                                                   27   emails. I have received no bounce-back notification after serving the materials in two

                                                   28   parts to the @dynadot addresses.

                                                                                                      6
                                                    1          34.      On September 7, 2022, I received from the process server verified
                                                    2   confirmation that service of the Complaint, Summons, TRO Motion, and the Court’s
                                                    3   September 6, 2022, Order had been completed in-person at one of the sites listed on the

                                                    4   California Secretary of State’s website as associated with the company’s agent, 205 E,

                                                    5   3rd Avenue, Suite 314, San Mateo CA, 94401, on September 7, 2022, at 2:30 PM. (Dkt.

                                                    6   No. 15 at 3-4).

                                                    7          35.      On September 7, 2022, I received from the process server verified
                                                        confirmation that service of the Complaint, Summons, TRO Motion, and the Court’s
                                                    8
                                                        September 6, 2022, Order had been completed via certified mail on the following
                                                    9
                                                        addresses: 210 S Ellsworth Ave., Unit 345, San Mateo, CA 94401 and PO BOX 607 San
                                                   10
                                                        Mateo, CA, 94401, on September 7, 2022, at 4:39 PM (Dkt. No. 15 at 5-8).
                                                   11
                                                               36.      On September 8, 2022, I received from the process server confirmation in
                                                   12
                                                        the form of an affidavit that service of the Complaint, Summons, TRO Motion, and the
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                                                        Court’s September 6, 2022, Order had been completed in-person at one of the sites listed
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                                                   14
                                                        on the California Secretary of State’s website as associated with the company’s agent,
                                                   15
                                                        205 E, 3rd Avenue, Suite 314, San Mateo CA, 94401, on September 7, 2022, at 2:30 PM.
                                                   16
                                                        (Ex. E at 1).
                                                   17
                                                               37.      On September 8, 2022, I received from the process server confirmation in
                                                   18   the form of an affidavit that service of the Complaint, Summons, TRO Motion, and the
                                                   19   Court’s September 6, 2022, Order had been completed on Dynadot LLC at the location
                                                   20   listed on the California Secretary of State’s website as most recently associated with the
                                                   21   company’s agent, 210 S Ellsworth Ave., Unit 345, San Mateo, CA 94401, via certified
                                                   22   mail on September 7, 2022, at 4:39 PM. (Ex. F at 1).
                                                   23          38.      On September 8, 2022, I received from the process server confirmation in
                                                   24   the form of an affidavit that service of the Complaint, Summons, TRO Motion, and the
                                                   25   Court’s September 6, 2022, Order had been completed on Dynadot LLC by certified mail
                                                   26   at PO BOX 607 San Mateo, CA, 94401, on September 7, 2022, at 4:39 PM. (Ex. G at 1).

                                                   27
                                                               I declare under penalty of perjury under the laws of the United States that the
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                                                    1   foregoing is true and correct.
                                                    2
                                                        Executed in San Francisco, California, on this 8th day of September 2022.
                                                    3
                                                    4                                            /s/ Jacob Canter            x

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